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 5                             IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
 6
     CALIFORNIA COALITION FOR WOMEN
 7   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;          CASE NO. 4:23-CV-04155-YGR
     G.M.; A.S.; and L.T., individuals on behalf of
 8   themselves and all others similarly situated,
 9                             Plaintiffs                [PROPOSED] ORDER GRANTING
                         v.                              ADMINISTRATIVE MOTION TO FILE
10                                                       DOCUMENTS UNDER SEAL
     UNITED STATES OF AMERICA FEDERAL
11   BUREAU OF PRISONS, a governmental entity;           FILED UNDER SEAL
     BUREAU OF PRISONS DIRECTOR
12   COLETTE PETERS, in her official capacity;
     FCI DUBLIN WARDEN THAHESHA JUSINO,
13   in her official capacity; OFFICER
     BELLHOUSE, in his individual capacity;
14   OFFICER GACAD, in his individual capacity;
     OFFICER JONES, in his individual capacity;
15   LIEUTENANT JONES, in her individual
     capacity; OFFICER LEWIS, in his individual
16   capacity; OFFICER NUNLEY, in his individual
     capacity, OFFICER POOL, in his individual
17   capacity, LIEUTENANT PUTNAM, in his
     individual capacity; OFFICER SERRANO, in
18   his individual capacity; OFFICER SHIRLEY, in
     his individual capacity; OFFICER SMITH, in his
19   individual capacity; and OFFICER VASQUEZ,
     in her individual capacity,
20
                              Defendants.
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22            Upon consideration of the Administrative Motion to File Documents Under Seal filed by the
23 United States of America, and for good cause shown, IT IS HEREBY ORDERED that the

24 Administrative Motion is GRANTED. The following excerpts of the following documents shall be filed

25 under seal in accordance with Civil Local Rule 79-5:

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     [PROPOSED] ORDER RE: MOTION TO FILE UNDER SEAL
     4:23-cv-04155-YGR                                   1
           Case 4:23-cv-04155-YGR            Document 162-1      Filed 02/17/24   Page 2 of 2



 1      Document and Portion of                Evidence in Support of                 Ruling
         Document to be Sealed                         Sealing
 2
      Exhibit 2, Inmate’s Name             5 U.S.C. § 552a; Dulgov
 3                                         Declaration, ¶¶ 6, 8
      Exhibit 3                            5 U.S.C. § 552a; Dulgov
 4
                                           Declaration, ¶ 6
 5    Exhibit 5 through 11, medical        5 U.S.C. § 552a; Dulgov
 6    records of inmates                   Declaration, ¶ 6, 8
      Exhibit 12                           5 U.S.C. § 552a; Dulgov
 7
                                           Declaration, ¶ 16
 8    Exhibits 13 and 14                   5 U.S.C. § 552a; Dulgov
 9                                         Declaration, ¶¶ 8, 17

10    Dulgov Declaration, ¶ 5,             5 U.S.C. § 552a; Dulgov
      inmate’s name                        Declaration, ¶¶ 6, 8
11
      Dulgov Declaration, ¶ 6,             5 U.S.C. § 552a; Dulgov
12    inmate’s name                        Declaration, ¶¶ 6, 8
13    Dulgov Declaration, ¶¶ 8-14          5 U.S.C. § 552a; Dulgov
                                           Declaration, ¶ 8
14
      Dulgov Declaration, ¶ 15,            5 U.S.C. § 552a; Dulgov
15    inmates’ names and medical           Declaration, ¶ 8
      information
16
      Dulgov Declaration, ¶ 16,            5 U.S.C. § 552a; Dulgov
17    inmate’s name                        Declaration, ¶¶ 6, 8

18    Dulgov Declaration, ¶ 17,            5 U.S.C. § 552a; Dulgov
      inmates’ names and medical           Declaration, ¶ 17
19    information
      Dulgov Declaration, ¶ 18,            5 U.S.C. § 552a
20    inmate’s name
21

22 DATED: _________________

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                                                                 _________________________________
25                                                               HON. YVONNE GONZALEZ ROGERS
                                                                 United States District Judge
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     [PROPOSED] ORDER RE: MOTION TO FILE UNDER SEAL
     4:23-cv-04155-YGR                                       2
